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                                                                               April 2020

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Glendale, WI 53217

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ACADEMIC TRAINING:

A.B.             Marquette University, June 1968. Psychology major, Philosophy Minor

M.S.             Marquette University, June 1970. Clinical Psychology
                 Major Professor: Raymond J. McCall, Ph.D.

Ph.D.            University of Georgia, June 1972. Clinical Psychology and School Psychology,
                 Co-Majors, Major Professor: William F. White, Ph.D.

                 Post doctoral Clinical Psychology Traineeship Veteran’s Administration Center,
                 Wood, WI 7/72-7/73 involved psychotherapy, psychodiagnostic and compensation
                 and pension evaluations. 2,000 hours Supervisors: Alan Wilson, Ph.D., James Hart,
                 Ph.D., and Harold Rosen, Ph.D.

                 Wisconsin Licensed Psychologist, 1973 #0506. National Register of Health Service
                 Providers in Psychology, 1975 #18616. Certified Level II School Psychologist, 1979
                 #A265393445821, Certificate of Professional Qualification (CPQ), 2001 #828,
                 Interjurisdictional Practice Certificate (IPC), 2011 #818

ACADEMIC EXPERIENCE

1968-1972        Marquette University Clinical Training Center Teaching
                 Assistantship. Responsibilities included the Individual
                 Intelligence Testing and Personality Assessment
                 Courses (Supervisor: Mary Ann Siderits, Ph.D.) 1968-1970;
                 Practicum at the Veteran’s Administration Center
                 (Supervisors: Alan Wilson, Ph.D., James Hart, Ph.D.) 1/70-5/70;
                 Georgia Mental Retardation Center-Group Therapy (Supervisor:
                 Bert O. Richmond, Ph.D.) 1/71-5/71; Taught Educational
                 Psychology 304 (Supervisor: E. Paul Torrance, Ph.D.) 6/71-8/71;
                 University of Georgia Child Guidance Center-evaluation and
                 Individual and family therapy.




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                Supervision of other graduate students. (Supervisor: Bert O.
                Richmond, Ph.D.) 6/71-6/72; Mental Health Division-Student Health
                Center-individual and group therapy with university students
                (Supervisor: Carol Currier, Ph.D.) 9/71-6/72.

EMPLOYMENT EXPERIENCE:

6/76 - 9/11     Full-time private clinical and forensic practice. Effective 1/10 practice limited to forensic
                psychology. Part-time effective 9/11.

9/73 - 6/15     Part-time consultant at St. Francis Children’s Center, a program
                for developmentally disabled children, working mostly with the
                staff and the parents setting up behavior and therapeutic remediation programs.
                Director of Behavior Management Committee. Full-time Employment 9/73-9/75.

5/87 - 2008     Consultant for Willowglen Academy.

8/80 - 10/08    Director - North Shore Psychotherapy Associates.

10/90 - 3/00    Charter Behavioral Health Systems Wisconsin Director of Internship 9/95-11/98
                Member Credentials Committee 10/90-3/00 Director - Diagnostic Treatment Program
                1/94 - 1/97 Director Psychological Services 7/91 to 3/00 Unit Director-Child Inpatient
                Unit 10/90-1/94 Taught 3rd year Medical College of Wisconsin students
                1/93-11/98 (Facility closed).

5/88 - 10/89    Consultant to Great Lakes Hemophilia Foundation AIDS Project.

11/85 -1/93     Allied Health Staff, Department of Psychiatry, St. Michael Hospital.

10/84 - 1/86    Consultant for Mt. Sinai Medical Center Psychiatry Clinic.

7/78 - 1/92     Director - North Shore Educational Services. (Facility closed.)

Prior to 1985   Consultant - Valley View Residential Care Facility. Facility closed.
                 Involved 160 residents, 120 of whom were chronically mentally ill,
                and 40 of whom were retarded adults. Duties involved: consulting with
                staff; mental status exams with residents; competency evaluations;
                psycho diagnosis; and group and individual therapy. Agency closed.
                (6/70-7/85) Consultant for North Shore Exceptional Education Cooperative.
                Assigned to TMR classroom at Good Hope School. (10/80-3/83) Area
                Coordinator for American Guidance Service for the standardization and
                validation of the Kaufman Assessment Battery for Children (K-ABC) and
                The Vineland Social Maturity Scales. (10/80-5/82) Guest editor-
                Journal of Consulting and Clinical Psychology. (1/80) Consultant for Children’s
                Clinic at the Archdiocese of Milwaukee (9/73-9/78). Consultant for Witt Hall.
                Agency closed. (9/75-9/79).




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                 USOE Assistantship assigned to W.F. White, Ph.D., and W.L. Bashaw, Ph.D.,
                 to assist with systems approach to evaluation with Follow Through Programs
                 and Consultant for Atlanta Model Cities through Education Evaluation Services, Inc.
                 (9/70-6/72). Milwaukee Public School System- Department of Psychological Services.
                 Responsibilities included psychometric work for Gaenslen Orthopedic School, Pierce Street
                 Elementary School, Emerson Elementary School, Lincoln High School, and Riverside High
                 School (3/70-6/70; 10/72-11/72).

TEACHING EXPERIENCE;

5/78 - Present   Wisconsin School of Professional Psychology
                 Professor Emeritus                  5/14
                 Full Clinical Professor – Founding Faculty Member
                 Chair of Forensic Psychology Program 1/03 to 6/15
                 Dean and Chief Academic Officer 12/81 to 3/87
                 Director of Clinical Training       3/81 to 3/90
                 Admissions Committee                3/90 to 6/00; 9/02-2014
                 Curriculum Committee                5/78 to 12/81
                 Courses taught: Adult Assessment; Child Assessment
                 Practicum; Child Therapy Techniques; Adult Therapy
                 Techniques; Group and Family Therapy; Child Cognitive and
                 Behavioral Therapy; Introduction to Forensic Psychology;
                 Civil Forensic Psychology; Advanced Seminar in Forensic
                 Psychology; Practicum in Forensic Psychology

9/98 - 12/98     Marquette University - Forensic Psychology

9/98 - 9/15      Marquette University- Guest Lecturer Doctoral Ethics Course

9/73 - 9/93      Cardinal Stritch College. Part-time instructor of graduate
                 psychology courses; Behavior Management; Individual
                 Intelligence Testing; Psychology of Emotionally Disturbed;
                 Individual and Family Counseling.

Prior to 1990    College of Racine Graduate course - Child Development (6/73-8/73)
                 University of Wisconsin, Milwaukee (UWM). Part-time instructor
                 of undergraduate psychology courses: Introduction to Personality;
                 Child Psychology; Behavior Pathology (1/73-9/74).

COMMITTEES AND MEMBERSHIP:

9/74 - Present   Member of the American Psychological Association, Wisconsin
                 Psychological Association, National Register for Health Service
                 Providers in Psychology, Milwaukee Area Psychological Association.

10/08 – 2011     Member American Academy of Matrimonial Lawyers Guidelines Committee

1/96 - 2010      President - Wisconsin Psychology Foundation




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1/91 - 2003     Wisconsin Psychological Association Administrative Council
                1995-1996 Past President
                1993-1994 President
                1991-1992 President Elect
                1996-2003 Ethics Committee
                2002- 2003 Chair Professional Issues Committee

10/87 - Present Program Committee Reviewer-Southeastern Psychological Association.

10/84 - 6/15    Member of Academy of Family Mediators.

11/97 - 1/00    Co-Chair-Wisconsin Psychological Association/Wisconsin Bar
                Association. Interdisciplinary Committee on Mental Health Issues.

6/88 - 2000     Member of Research Committee of the St. Francis Children’s Center

Prior to 1990   President and President Elect of Milwaukee Area Psychological Association. (5/87-5/89)
                Member Advisory Council-University School Milwaukee Specific
                Language Disability program. (1/84-1/90) Member Education Committee-University
                School Milwaukee. (1/80-9/81) Member Parent-School Council-University School
                Milwaukee. Chairman of Human Relations Committee. (5/79-9/81) Advisory Committee
                of The Division of Pupil Personnel Services-Archdiocese of Milwaukee. (9/75-9/78)
                Corporate Member-Jewish Vocational Services. (5/75-5/78)

BOARDS:

10/06 – 8/14    University of Georgia Graduate Education Advancement Board (GEAB)

9/07 – 9/11     Jewish Family Services (JFS), Milwaukee, WI

9/87 - 11/91    Member Board of Governors-Society of Clinical and Consulting
                Psychology. Treasurer 11/89 - 11/91.




AWARDS:         April 21, 1995 - Wisconsin Psychological Association Award for Outstanding
                Contributions to the Advancement of Psychology as an Applied Profession of Psychology


                November 19, 1999 – Wisconsin Psychological Association Award For Outstanding
                Contributions to the Profession of Psychology Through Leadership in the Association.




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PUBLICATIONS:

2014            Reviewer for American Psychological Association publication – J.N. Butcher, G.A. Hass,
                R.L. Greene, & L.D. Nelson. Using the MMPI-2 in Forensic Assessment, 2015

2004- Present   Associate Editor- Journal of Child Custody

2000-Present    Associate Editor- Journal of Forensic Psychology Practice

2012-Present    Editorial Board- Journal of Personal Injury and the Law

BOOKS &
CHAPTERS:       Psychological Experts in Divorce Actions (7th Edition) (2019) Wolters Kluwer, New York
                (with Andrew W. Kane, Ph.D. & Jonathan W. Gould, Ph.D.)

                Psychological Experts in Divorce Actions (6th Edition) (2015) Wolters Kluwer, New York
                (with Andrew W. Kane, Ph.D., Jonathan W. Gould, Ph.D. & Milfred “Bud” Dale, Ph.D.
                J.D.)

                Child Custody Evaluations. With Jonathan W. Gould, Ph.D. Chapter in: Handbook of
                Forensic Psychology. American Psychological Association. (2014)

                Psychological Experts in Divorce Actions (5th Edition) (2011) Aspen Law Publishers, New
                York (with Andrew W. Kane, Ph.D.)

                The Ackerman-Schoendorf Scales for Parent Evaluation of Custody (ASPECT):
                A Review of Research and Update, In Psychological Testing in Child Custody
                Evaluations (2nd Edition), Flens, J.R, & Drozd, L, ed. Haworth Press, (In preparation). New
                York, New York.

                Essentials of Forensic Psychological Assessment (2nd Edition) (2010). John Wiley & Sons,
                Inc., Hoboken, N.J.

                Critical Issues in Child Custody Cases. Chapter in: 2009 Family Law Update, Brown, R.L.
                & Morgan, L.W. Aspen Publishers. New York (with Elizabeth Waisanen, MSSW).

                Divorce Cases: Mental Health Issues. Chapter in: 2009 Family Law Update, Brown, R.L.
                & Morgan, L.W. Aspen Publishers. New York (with Alison Kravit, MS).

                Does Wednesday Mean Mom’s House or Dad’s (Second Edition) (2008)
                John Wiley & Son’s Inc., Hoboken, N.J.

                Clinicians guide to child custody evaluations (3rd Edition) (2006) John Wiley & Sons, Inc.
                Hoboken, N.J.

                The Ackerman-Schoendorf Scales for Parent Evaluation of Custody (ASPECT):
                A Review of Research and Update, In Psychological Testing in Child Custody
                Evaluations, Flens, J.R, & Drozd, L, ed. Haworth Press, (2005) New York, New York.




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             Transfusion Maybe, Laid to Rest, No: A Response to the Mary Connell
             Review of the Ackerman-Schoendorf Scales for Parent Evaluation of Custody
             (ASPECT), In Psychological Testing in Child Custody Evaluations, Flens, J.R.
              & Drozd, L., ed, (2005) Haworth Press, New York, New York.

             Forensic Psychology (with Randy Otto, Ph.D.) John Wiley & Sons Inc., New York,
             N.Y. In preparation.

             Psychological Experts in Divorce Actions, 4th Edition (2005). Aspen Law Publishers.
             New York (with Andrew W. Kane, Ph.D.)

             Understanding Abuse in Custody Cases (2004) Family Law Update Chapter 8, 295-343

             Child custody evaluations: Comparing psychologists’ practices with judges’ and lawyers’
             expectations. Chapter in: Innovations in clinical practice: A source book. (Vol. 20)
             VandeCreek L. and Jackson T.L. (Eds). (2002) Professional Resource Press, Sarasota, Fl

             Clinicians guide to child custody evaluations, (2001) (2nd Edition) John Wiley & Sons,
             Inc., New York, N.Y.

             Parental alienation syndrome: Does parental alienation syndrome really exist?
             (2000) Wiley Family Law Update. Chapter 6. 145-167

             Essentials of forensic psychological assessment (1999) John Wiley & Sons, Inc.,
             New York, NY

             Psychological experts in divorce actions-3rd Edition.(1998) (with Andrew W. Kane, Ph.D.),
             Aspen Law Publishers, New York.

             Psychological experts in personal injury actions- 3rd Edition (1998) (with Andrew W. Kane,
             Ph.D.), Aspen Law Publishers, New York,

             How divorce affects families. 1998 Wiley family Law Update, Wiley Law Publications,
             Colorado Springs, CO, 1998. Chapter, 107-162

             Child custody evaluation practices: A 1996 survey of experience psychologists.
             Wiley Family Law Update. 565-586. 1996

             Does Wednesday mean mom’s house or dad’s: Parenting together while living apart,
             (1997) John Wiley & Sons.

             MMPI-2 in child custody evaluations, 1996 Wiley Family Law Update. Chapter 1, 1-36

             Clinician’s guide to child custody evaluations. (1995) John Wiley & Sons, Inc.,
             New York, N.Y.

             Sexual abuse memories: Repressed or false, Chapter 1, 1995 Wiley Family Law Update.
             1995.




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             American Psychological Association Guidelines for Child Custody Evaluations
             Divorce Proceedings. Overview, Interpretation, and Elaboration. Chapter 4,
             Wiley Family Law Update, 1995.

                “The elements of psychological evaluations in custody cases” Chapter in Encyclopedia
                of Matrimonial Practice Ronald Brown, Ed. Prentice Hall Law, N.Y. 1991

                How to examine of psychologist experts in divorce and other civil actions (with Andrew
                Kane, Ph.D.) Wiley and Sons, Inc., 1990.

                 Nobody ever said it would be easy: A guide for effective childrearing. Copyright 1987.

TESTS:          Ackerman-Schoendorf Scales for Parent Evaluation of Custody –Short Form (ASPECT-SF)
                Western Psychological Services, Los Angeles, CA, (2000). (With Susan Schoendorf,
                Psy.D.)

                ASPECT - Ackerman-Schoendorf Scales for Parent Evaluation of Custody. (1992)
                (with Kathleen Schoendorf, Psy.D.), Western Psychological Services, Los Angeles, CA.

ARTICLES:       Mathy, N. & Ackerman M.J. 30 Years of Research from Keilin and Bloom to Present: A
                Survey of Child Custody Evaluation Practices. In Preparation.

                Neff, M., Ackerman, M.J. & Gould, J.W. Instrument Selection and Daubert Admissibility
                in Child Custody Evaluations: A Survey of Psychologists. In Preparation.

                Ackerman, M.J. & Pritzl, T. (2012). Reality Is…. A Response to Martindale, Tippins,
                Ben-Porath, Austin, and Wittman. Family Court Review, 50, 3, 508-511.

                Ackerman, M.J., & Pritzl, T. (2011). Child Custody Evaluation Practices: A 20 Year
                Follow-up. Family Court Review, 49, 618-628.

                Ackerman, M.J., & Drosdeck, C. (2010). Placement Schedules for children
                under two years of age. Family Advocate, Summer 2010, 33, 12-15.

                Ackerman, M.J. (2009). “People talking without speaking, People hearing without
                listening.”. American Journal of Family Law, 23, 4, 224-231.

                Ackerman, M.J., & Dolezal, S. (2006). Experienced custody evaluators’ views of
                controversial issues. American Journal of Family Law, 20, 200-205

                Ackerman, M.J. (2006). The APA code of ethics and child custody work. American
                Journal of Family Law, 20, 102-111

                Ackerman, M.J. (2006). Forensic psychology report writing. Journal of Clinical
                Psychology, 62, 59-72

                Ackerman, M.J. (2005). Ackerman-Schoendorf Scales for Parent Evaluation of Custody
                                (ASPECT) Review of Research and Update. Journal of Child Custody,
                                Vol. 2, 179-193.




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             Ackerman, M.J. (2005). Transfusion Maybe, Laid to Rest, No: A Response to the Mary
             Connell Review of the Ackerman-Schoendorf Scales for Parent Evaluation of Custody
             (ASPECT. Journal of Child Custody, Vol. 2, 211-214

             Ackerman, M.J., Ackerman, M.C., Steffen, L. and Kelly S. (2004). Psychologist’s Practices
             compared to expectations of Family Law Judges and Attorney’s in child custody cases.
              Journal of Child Custody, 1, 41-60

             Ackerman, M.J (2003). Psychological maltreatment. Family Advocate, 26, 19-22.

             Ackerman M.J., Steffen L.J., (2001). Custody evaluation practices; A survey of family law
             judges. American Journal of Family Law. Vol. 15, No 1, 12-23.

             Evaluating the evaluator: The psychologists’ view, (2000). Family Advocate, Vol.
             23, No. 1.

             Second opinion custody evaluations: To do or not to do. American Journal of Family Law,
             Vol. 14, 11-14 (2000).

             Placement schedules: Guidelines for physical placement and visitation schedules (1999).
             American Journal of Family Law, Vol. 13, No. 2, 93-100

             Child custody evaluation guidelines: Ethical concerns, Wisconsin Psychologist. March,
             1998

             Ackerman, M.J. & Ackerman, M.C. (1997). Child custody evaluation practices. A survey
             of experienced professionals (Revisited). Professional Psychology: Research and Practice,
             28, 137-147.

             Ackerman, M.J. & Ackerman, M.C. (1996). Child custody evaluation practices: A 1996
             survey of psychologists, 30. Family Law Quarterly, 565-586.

             Recent trends in child custody case law: Psychologists (1996) perspectives. American
            Journal of Family Law, Vol. 10, No. 2, 71-79.

            APA guidelines for child custody evaluation: Overview, Interpretation, Elaboration.
            Three part series. Vol. 16, Nos. 1, 2, 3. Fairshare. 1996.

            American Psychological Association guidelines for child custody evaluations. (1994).
            American Journal of Family Law, Vol. 8.

            Do’s and Don’ts For lawyers whose clients seek custody. Family Advocate, Spring, 1994.

            A child’s shattered ego: The aftermath of divorce. American Journal of Family Law,
            John Wiley & Sons, Inc., Spring, 1994.

            Surviving your day in court, (1993). Register Report. December.




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             “Attorney sexual misconduct: The why, how and consequences. (with Robert S. Pledl
             and Andrew W. Kane, Ph.D.) American Journal of Family Law. Summer, 1992.

                “Issues in child sexual abuse allegations: Incest families and child testimony”
                American Journal of Family Law. Spring, 1992.

                Child sexual abuse: Bonafide or fabricated-Revisited. American Journal of Family Law,
                Winter, 1991.

                Psychological evaluations in custody cases. Four Series, Vol. 10; Nos. 6, 7, 8, 9.
                Fairshare. 1990.

                Adjustment of the family to divorce. American Journal of Family Law, 3, Fall, 1989.

                Child sexual abuse: Bonafide or fabricated. American Journal of Family Law,
                Summer 1987.

                Recent research on the effect of divorce on children. Wisconsin Journal of Family Law.
                December, 1984.

                Psychological tools of the trade, Family Advocate/American Bar Association, Spring 1984.
                Volume 6 #4 (with James J. Podell, J.D.).

                Self Taught Inner Control of Hyperactivity (STICH). A paper Presented at International
                Conference for the Association of Children with Learning Disabilities. February, 1980.

                Alcoholism and the Rorschach (1971). Journal of Personality Assessment, 35, 224-228.

                Social desirability in economically disadvantaged children. Dissertation. University
                of Georgia. 1972. Major Professor: William F. White, Ph.D.

WORKSHOPS, PRESENTATIONS, AND PAPERS:
1/01 - Present Conducting child custody evaluations and studies: Current issues, controversies and
               solutions, Specialized Training Services, Inc. Phoenix, AZ 1/01; Sacramento, CA 1/01;
               Austin, TX. 12/01; Columbus, OH. 3/02; Chicago, IL 6/02; Portland, OR 10/02; Denver,
               CO 10/02; Baltimore, MO 11/02; Fort Lauderdale, FL 3/03; San Diego, CA 1/04;
               Sacramento, CA 9/04; Columbus, OH 11/04; Los Angeles, 12/05; Washington D.C., 3/06;
               San Jose, CA, 10/06; Austin, TX 12/06; San Diego, CA 9/07; San Jose, CA 10/10; Los
               Angeles, CA 11/12; Chicago, IL 11/13

11/18           Guidelines, Research and Daubert: How They Work Together and When They Differ (with
                Arnold Sheinvold Ph.D. and Mary Neff Psy.D.). AFCC 13th Symposium on Child Custody,
                Denver, CO.

9/16            Ethics for Forensic Psychologists. Wisconsin School of Professional Psychology

8/6/15          Current Critical Issues in Performing Child Custody Evaluations. 125th American
                Psychological Association Annual Convention, Toronto, Canada.




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7/21-7/25/14   Practicing in the Shadow of the Courts: Legal Issues for Mental Health Professionals. 28th
               Annual Medical College of Wisconsin Door County Summer Institute, Door County, WI
               (with Jonathan W. Gould, Ph.D., Nancy Olesen, Ph.D. & Jay Flens, Psy.D.)

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4/14         Essentials of Forensic Psychological Assessment. Full-day workshop at Wisconsin
             Psychological Association Annual Convention, Madison, WI

8/07-8/08/13   Ethical Issues in Forensic Psychology. 27th Annual Medical College of Wisconsin Door
               County Summer Institute. Door County,WI.

5/13           Child Custody Evaluation Standard of Practice: What do we really know? Association for
               Family and Conciliation Courts. Los Angeles, CA. (with Jonathan Gould, Ph.D.)

9/12           Ethical Issues in Forensic Psychology for Clinicians and Forensic Psychologists. Wisconsin
               School of Professional Psychology Ethics Seminar. Milwaukee, WI.

3/11           Critical issues in child custody evaluations. Brisbane Family Courts. Brisbane, Australia.

8/10           Critical issues in child custody evaluations 118th Annual meeting of the American
               Psychological Association, San Diego, CA.

8/10           Critical Issues in child custody evaluations. New Mexico Bar Association, Albuquerque,
               NM.

11/09          Defining Standards of Practice in child custody evaluations. Association of Family and
               Conciliation Courts, Reno, Nevada (with James Bow, Ph.D.).

4/09           Psychological Testing in Child Custody Cases. Wisconsin Psychological Association
               Annual Meeting, Madison, WI.
9/08           Pitfalls in child custody cases. National Business Institute, Milwaukee, WI.

10/07          Controversial Issues in Custody Cases: Parental Alienation, Placement Schedules,
               Domestic Violence, and Relocation. Nineteenth Annual Institute Ohio Chapter of the
               American Academy of Matrimonial Lawyers, Columbus, Ohio.

9/07           Controversial Issues in Child Custody Cases. Canadian Psychological Association Summer
               Institute, Ottawa, Canada.

9/07           Controversial Issues in Child Custody Cases. First Annual State of the Family Symposium.
               National Center for Law at the University of Richmond, Richmond, VA.

8/07           Controversial Issues in Child Custody Cases. 115th Annual Meeting of the American
               Psychological Association, San Francisco, CA.

4/07           Controversial Issues in Child Custody Cases. Wisconsin Psychological Association,
               Madison, WI.

8/06           Current issues in child custody cases. The Family Law Institute Colorado Bar Association.
               Breckenridge, Co. August, 2006.




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6-06         The alienated child. 19th Judicial Conference. Lake County Bar Association. Lake County
             IL., June, 2006.
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7/06            Child custody evaluations. International Conference of Applied Psychology, Athens,
                Greece, July, 2006.

1/06            Controversial topics in child custody: Domestic violence, alienation, Placement schedules.
                New approaches-New Solutions Law Education Institute Family Law Conference, Aspen,
                Colorado, 2006.

9/05            Latest developments in child placement. National Business Institute, Milwaukee, WI.

8/05            Complex issues for experienced child custody evaluators: An advanced seminar. Full Day
                Continuing Education Workshop at the 113th Annual Meeting of the American
                Psychological Association, Washington, DC, August 2005.

6/05            Placement Schedule Issues, ABA teleconference with Phil Stahl, Ph.D.

10/04           Controversial issues in child custody evaluations (with Phil Stahl & Jonathan Gould).
                American Bar Association Family Law Section. Milwaukee, WI.

8/04            Conducting child custody evaluations: Current issues, controversies and solutions. The
                Medical Collage of Wisconsin Door County Summer Institute. Door County, WI.

4/04            Preparing to cross examine the psychological expert. American Bar Association Family
                Law Section. San Juan, Puerto Rico.

11/03           The Psychological Edge. State Bar Association of North Dakota. Fargo, ND.

8/03            Complex issues for experienced child custody evaluators: An advanced seminar. Full Day
                Continuing Education Workshop at the 111th annual meeting of the American
                Psychological Association, Toronto, Canada, August 2003.

6/03            Problems with interviews of alleged victims of child sexual abuse. Wisconsin Association
                of Criminal Defense Lawyers. Madison, WI 6/19/03.

6/03            How divorce affects families. Grand Rounds Medical College of Wisconsin, Milwaukee,
                WI.

4/03            Psychological Experts in Personal Injury Cases. Wisconsin Psychological Association,
                Madison, WI.

1/03            Placement schedules for children under 2 years of age. Law Education Institute Family Law
                Conference 2003, Snowmass, Colorado.

1/03            The use of psychological tests in criminal cases. Law Education Institute Criminal law
                Conference 2003. Snowmass, Colorado.

11/02           How divorce affects families. Grand Rounds Milwaukee Psychiatric Hospital.




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8/02           Complex issues for experienced child custody evaluators: An advanced seminar. Full Day
               Continuing Education Workshop At the 110th annual meeting of the American
               Psychological Association, Chicago, IL. August 2002.

8/02           Assessment instruments in custody cases. Symposium presented at the
               110th annual meeting of the American Psychological Association.
               Chicago, IL. August, 2002 (with Alex Caldwell, Ph.D.; Randy Otto,
               Ph.D.; Sheryl Dolezal, Psy.D.).

4/02           Use of the MMPI-2 in therapeutic and forensic work. A workshop at The
               Wisconsin Psychological Association Convention 2002, Madison, WI. 4/02

1/02           The use of the MMPI-2 in custody cases 10 years after release. Law Education
               Institute Family Law Conference 2002. Steamboat Springs, CO. 1/02

8/01           MMPI-2 stability within and across forensic settings. Paper presented at the 109th
               Annual meeting of the American Psychological Association, San Francisco, CA
               August, 2001 (with Roger Greene, Ph.D, Stuart Greenberg Ph.D, Jeffrey Davis Ph.D,
               and Richard Fredrick Ph.D.).

8/01           Child Custody Evaluation: Comparing survey of psychologists, judges, and lawyers.
               A paper presented at the 109th annual Meeting of the American Psychological Association,
               San Francisco, CA. August, 2001

4/01           Child custody evaluation & visitation schedules, Louisiana State Bar, New Orleans,
               LA. (3/30/01)

1/01           What Family Law Judges Except from Psychologists in Custody Case: A Survey,
               Law Education Institute-Family Law Conference, Vail, CO. (2001)

12/00          Child Custody and Time Sharing in Wisconsin. National Business Institute. Milwaukee,
               WI.

8/00           Psychological Experts in Personal Injury Cases - Full Day Continuing Education Workshop
               at the 108th Annual Meeting of the American Psychological Association, Washington, D.C.

8/00           What Judges Expect From Psychologists in Child Custody Evaluations. Child Custody
               Evaluation Practices: A Survey of Judges. A paper of the American Psychological
               Association, Washington, D.C.

1/00           How to Prepare Clients for Child Custody Evaluations and Interviews with the Guardian
               ad Litem. Law Education Institute Family Law Conference (2000) Vail, CO.

10/99          Profile of the Child Abuser: Identification and Assessment, St. Catherine Hospital Master
               Lecture Series, 1999, Munster, IN.

8/99           Discussant: Parenting and Personal Injury Examination – Practical Applications, 107th
               Annual Meeting of the American Psychological Association, Boston, MA, August, 1999.




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1/99           Placement Schedules: The Good, The Bad, and The Ugly, Law Education Institute Family
               Conference, 1999, Vail, CO.

11/98          Ethical Dilemmas for Lawyers and Psychologists: Negotiating the Rapids of Divorce.
               Wisconsin Psychological Association/State Bar of Wisconsin, Madison, WI, November,
               1998 (with Susan Hansen, J.D.).

11/98          Use and Misuse of Psychological Tests in Custody Cases. Lawyers and Psychologists:
               Negotiating the Rapids of Divorce. Wisconsin Psychological Association/State Bar of
               Wisconsin, Madison, WI. November, 1998 (with Kathleen Schoendorf, Psy.D.).

10/98          Understanding and Using Psychological Tests in Custody Cases. National
               Association of Counsel for Children. Milwaukee, WI, October, 1998.

8/98           Placement schedules. The good, the bad and the ugly. Symposium Participant.
               “Protecting children During Divorce: Critical Issues and Creative Solutions, presented
               at the 106th annual meeting of the American Psychological Association, San Francisco,
               CA, August, 1998.

8/98           Child custody evaluations for the experienced practitioner. Full day Workshop at the 106th
               Annual meeting of the American Psychological Association, San Francisco, CA,
               August, 1998.

3/98           How to perform custody evaluations. Full day workshop for the West Virginia
               Psychological Association.

2/98           Ethical Issues in Forensic Psychology. Colloquium at Marquette University
               Psychology Department.

1/98           Post-traumatic Stress Disorder in Personal Injury cases. 1998. Law Education Institute
               Civil Litigation Conference. Vail, CO.

1/98           MMPI-2 in custody cases. 1998. Law Education Institute Family Law Conference.
               Vail, CO.

8/97           Validity Issues in Child Custody Evaluation: Conceptual and Empirical Approaches.
               Symposium participant at the 105th annual meeting of the American Psychological
               Association. Chicago, IL.

8/97           Surviving Your Day in Court: Interplay Between Psychology and Law. Symposium
               participant, 105th annual meeting of the American Psychological Association. Chicago, IL.

8/97           Child custody evaluations for the experienced practitioner. Full day Continuing Education
               Workshop at the 105th annual meeting of the American Psychological association. Chicago,
               IL.

7/97           Malingering and Personal Injury Cases: What Psychological Tests Tell Us. Law Education
               Institute, Alaska.




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7/97           Current Child Custody Evaluation Practices: 1996 & 1997 Survey Studies. Law Education
               Institute, Alaska.

4/97           Child Custody Evaluation Practices. Children, Divorce, and custody: Lawyers
               and psychologists working together. Paper presented at the joint American Bar
               Association & American Psychological Association Meeting, Los Angeles, CA.

4/97           Specialized Instruments. Children, Divorce, and Custody: Lawyers and Psychologists
               Working Together. Paper Presented at the joint American Bar Association & American
               Psychological Association meeting, Los Angeles, CA.

1/97           Malingering in Personal Injury Cases: What Psychological Tests Tell Us. Presentation
               at the 1997 Civil Litigation Conference. Vail, CO.

1/97           MMPI-2 and Criminal Cases: A Look at Jeffrey Dahmer’s Mind. Presentation at the 1997
               Family Law Conference. Vail, CO.

1/97           Current Custody Evaluation Practices: 1996-1997 Survey Studies. Presentation at the 1997
               Family Law Conference. Vail, CO.

11/97          Ethical Implications of American Psychological Association Child Custody Guidelines.
               Presentation at the annual Wisconsin Psychological Association Meeting, Madison, WI.

8/96           Child custody evaluation practices, 1996 - Keilin & Bloom revisited. Symposium
               participant in 104th annual meeting of the American Psychological Association, 1996,
               Toronto, Canada.

4/96           Ethical Considerations with Managed Care. Presentation at the Wisconsin Psychological
               Association, 1996, Toronto, Canada.

3/96           How to perform child custody evaluation: A comprehensive overview. (2 day workshop)
               Hawaii Psychological Association, Honolulu, Hawaii.

1/96           False Memory Syndrome: Does it exist, how to deal with it, and its implications in civil
               litigation. 1996 Winter Civil Litigation Conference, Vail, CO.

1/96           False Memory Syndrome: Does it exist, How to deal with it, its implications in Family
               Law, 1996. Winter Family Law Conference, Vail, CO.

10/95          Panel discussion of (Bruck/Ceci) Researchers Findings/ Implications for Sexual Abuse
               Cases. Supreme Court of Wisconsin-Wisconsin Judicial Conference. Lake Geneva, WI.

10/95          Child Sexual Abuse Allegations. Wisconsin School Psychologist’s Association Annual
               Meeting, Manitowoc, WI.

8/95           Child Custody Evaluations Beginning to End. Full day workshop presented at the 103rd
               meeting of the American Psychological Association. New York, NY.




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8/95           MMPI Use in Child Custody Evaluations: Integrating the Data. Integrating MMPI, MMPI-
               2 and ASPECT date in child custody evaluations. Symposium participant at
               the 103rd annual meeting of the American Psychological
               Association. New York, NY.

8/95           Child Custody Assessment: A Comparison of Four Empirical Approaches. The
               Ackerman-Schoendorf Scales for Parent Evaluation of Custody (ASPECT).Symposium
               Participant at the 103rd annual meeting of the American Psychological Association.
               New York, NY.

5/95          Child Custody Evaluations: Meeting the Challenges and Avoiding the Pitfalls. Maine
              Academy of Continuing Education for Psychologists.

4/95          Ethical Issues in Child Custody Evaluations. Fifth Annual National Symposium: Mental
              Health and the Law. Fort Lauderdale, Florida.

4/95          What Family Lawyers Need to Know About Child Custody Evaluations: Insight from
              experienced experts. American Bar Association section of Family Law. National
              Telephone Seminar.

3/95          Child Sexual Abuse Allegations: Bona Fide or Fabricated. Boulder Interdisciplinary
              Committee. Boulder, CO.

2/95          False Memory Syndrome; Does it really exist; how to deal with it; and its implications in
              family law. Florida Bar Association and Law Education Institutes.

11/94         To Test or Not to Test. 1st Annual International Symposium on Child Custody Evaluations.
              Tucson, AZ.

8/94          Ethical Issues Facing Psychologists in Courtrooms. Symposium Chaired at the
              102nd Annual Meeting of the American Psychological Association, Los Angeles,
              CA., August, 1994.

8/94          Surviving Your Day in Court: Interplay Between Psychology and Law. Paper presented
              at the 102nd Annual Meeting of the American Psychological Association, Los Angeles,
              CA, August, 1994.

3/94          Ackerman-Schoendorf Scale for Parent Evaluation of Custody (ASPECT). Paper presented
              at the 102nd Annual Meeting of the American Psychological Association, Los Angeles,
              CA., August, 1994.

4/94          Surviving Your Day in Court. Full day continuing education workshop presented at the 40th
              Annual Meeting of the South- Eastern Psychological Association, New Orleans, LA., April,
              1994.

3/94          Ackerman-Schoendorf Scale for Parent Evaluation of Custody (ASPECT). Paper presented
              at the 40th Annual Meeting of the Southeastern Psychological Association, New Orleans,
              LA., March, 1994.




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3/94         False Memory Syndrome. Fifth Annual Child Abuse Conference. Charter
             Hospital Milwaukee.

1/94         Sexual Abuse Allegations: Bonafied or Fabricated. Focus on Family Law. Vail, CO.

9/93         Surviving Your Day in Court. Wisconsin School of Professional Psychology/Charter Hospital,
             Milwaukee, WI. (Full Day Workshop)

8/93         Examination of Psychological Experts. 12th Annual Family Law Conference, Door County,
             WI.

8/93        Sexual Abuse Allegations; Bonafied or Fabricated. Invited presentation to the American Bar
            Association, New York.

3/93        Sexual Abuse Allegations; Bonafied or Fabricated, Focus on Family Law. Palm Springs, CA.

3/93        4th Annual Child Abuse Conference, Charter Hospital, Milwaukee, WI.

6/92        Ethical Issues in Custody Evaluations. North Dakota, Supreme Court Judicial Conference.

3/92        When the Victims are Children. 3rd Annual Conference on Child Abuse, Charter Hospital,
            Milwaukee.

1/92        New Developments in Child Custody Cases: MMPI-2, MMPI-A, ASPECT, Divorce Law
            Update. Vail, CO.

10/91       15th Annual Child Custody Conference, Colorado Bar Association, Keystone, CO.

3/91        Divorce-Wisconsin Style-Wisconsin Chapter-American Academy of Matrimonial
            Lawyers-9th Annual Midwinter Meeting, Milwaukee, Milwaukee, WI.

1/91        Update on the MMPI-2 and ASPECT. Focus on Family Law. Costa Mesa, California. (1/92)

8/90        The MMPI, Rorschach and ASPECT in custody disputes. American Bar Association
            Convention, Chicago, Illinois.

1990 –      Examination of the Psychological Expert. Phoenix, Arizona 1991(3/90); Indianapolis, Indiana
1991        (4/90); New Orleans, Louisiana (5/90); Milwaukee, Wisconsin; (9/90); Pittsburgh, Pennsylvania
             (10/90); Philadelphia, Pennsylvania, (10/90); Hartford, Connecticut (10/90); Boston,
             Massachusetts (10/90); Cleveland, Ohio (11/90); Columbus, Ohio (11/90); Alexandria,
            Virginia (1/91); Atlanta, Georgia (1/91); Miami, Florida (1/91); Bismarck, N.D. (1992).

4/89        MMPI in Child Custody Cases. Focus on Family Law, Phoenix, Arizona.




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2/89        Trying a Less Trying Case. Society of Clinical and Consulting Psychology and Wisconsin
            Bar Association.

12/88 &     The Examination and Cross Examination of the Psychological Expert in a Divorce Action.
11-87       Wisconsin Bar Association.

12/86       How to Cross Examine the Psychological Expert. Wisconsin Academy of Trial Lawyers.




PRIOR TO 1985: AVAILABLE UPON REQUEST




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